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                 Volume III of IX (Appx23131-Appx27244)
                               No. 2024-1285

          UNITED STATES COURT OF APPEALS
             FOR THE FEDERAL CIRCUIT
                                  APPLE INC.,
                                                                Appellant,
                                    v.
                     INTERNATIONAL TRADE COMMISSION,
                                                        Appellee,
           MASIMO CORPORATION, CERCACOR LABORATORIES, INC.,
                                                     Intervenors,

       On Appeal from the United States International Trade Commission
                     in Investigation No. 337-TA-1276

                 NON-CONFIDENTIAL JOINT APPENDIX

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RDX-8 - Direct Demonstratives of Steven Warren [SEALED]              Appx70841-
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CERTIFICATE OF SERVICE




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                  CONFIDENTIAL MATERIAL OMITTED

The material omitted from Appx9; Appx36; Appx41-44; Appx46-48; Appx108;
Appx119; Appx121-122; Appx150-151; Appx153-154; Appx156-158; Appx187-
190; Appx192-194; Appx196; Appx198; Appx218; Appx220-222; Appx265-276;
Appx373; Appx13067-13069; Appx21846; Appx22790; Appx22954; Appx22956-
22958; Appx22985; Appx22990; Appx23139; Appx23166; Appx23171-23174;
Appx23238; Appx23249; Appx23251-23252; Appx23280-23281; Appx23283-
23284; Appx23286-23288; Appx23317-23320; Appx23322-Appx23323;
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Appx23656; Appx23658; Appx23681-23682; 23688; Appx23791; Appx24147-
24148; Appx40795-40798; Appx40996-40999; Appx41019-41026; Appx41029-
41030; Appx41058-41062; Appx41077-41080; Appx41094-41097; Appx41108-
41110; Appx51900-51924; Appx52602-52606; Appx52609; Appx52642-52645;
Appx52791-52795; Appx52822-52824; Appx52911-52912; Appx52939-52941;
Appx52980-52982; Appx53016-53019; Appx60425-60431; Appx60432-60434;
Appx70322-70355; Appx70774; Appx70781-70783; and Appx70841-70876
contains Apple’s confidential competitively sensitive product information subject
to the Administrative Protective Order; the material omitted from Appx4579 and
Appx53459-53461 contains competitively sensitive information regarding
confidential agreements; the material omitted from Appx23439; Appx23441-
23446; Appx23448; Appx23450-23453; Appx23455-23458; Appx23462;
Appx23617; Appx23621; Appx23659-23665; Appx25251; Appx40483;
Appx40582-40584; Appx40600-40601; Appx40605; Appx40652-40655;
Appx40658-40662; Appx53491; Appx53492; Appx53497; Appx53499;
Appx53503; Appx53506; Appx65064-65075; Appx65075; Appx65104-65105;
Appx65315; Appx65321-65232; and Appx71223-71244 contains Masimo’s
confidential competitively sensitive financial information subject to the
Administrative Protective Order; the material omitted from Appx311-316;
Appx23667-23674; Appx40579-40581; Appx40585-40599; Appx40602- 40604;
Appx40610-40614; and Appx40631-40633 contains Masimo’s confidential
competitively sensitive financial and manufacturing information subject to the
Administrative Protective Order; the material omitted from Appx473-474;
Appx62; and Appx23176-23178 contains Masimo’s confidential competitively
sensitive manufacturing information subject to the Administrative Protective
Order; the material omitted from Appx13047; Appx14129-14140; Appx205-206;
Appx211; Appx21848; Appx22282-22286; Appx23197; Appx23204; Appx23335-
23336; Appx23341; Appx23408-23416; Appx23434-23436; Appx23454;
Appx23642; Appx23644-23645; Appx23647-23649; Appx23685-23687;
Appx23693-23697; Appx23704; Appx25253-25260; Appx278-286; Appx2809-


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2852; Appx2923-2937; Appx304-306; Appx309; Appx3708; Appx3710-3711;
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Appx40438-40442; Appx40486-40494; Appx40495-40506; Appx40512-40521;
Appx40525-40528; Appx40547-40555; Appx40560- 40574; Appx40803-40822;
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Appx55229-55354; Appx55359-55376; Appx55386-55399; Appx57317-57324;
Appx57394--57409; Appx57410-57412; Appx57615-57618; Appx60136-60153;
Appx60184-60212; Appx65014-65019; Appx65022-65025; Appx65028-65037;
Appx65040-65074; Appx65207; Appx65224; Appx65267-65268; Appx67;
Appx6701-6703; Appx6705; Appx6732-6736; Appx6852-6854; Appx6937-6950;
Appx70475; Appx70484-70491; Appx70504-70513; Appx70518-70559;
Appx70610-70613; Appx70615-70617; Appx70619-70628; Appx70833-70835;
Appx70948-70950; Appx70955-70956; and Appx74 contains Masimo’s
confidential competitively sensitive product information subject to the
Administrative Protective Order; the material omitted from Appx23707-23709;
Appx318; Appx320-328; Appx40634; and Appx70592-70594 contains Masimo’s
confidential competitively sensitive product and financial information subject to
the Administrative Protective Order; the material omitted from Appx176;
Appx179; Appx22788-22789; and Appx22791 contains Masimo’s confidential
information detailing non-public patent prosecution subject to the Administrative
Protective Order; the material omitted from Appx404-405; Appx457; Appx460-
461; Appx464; Appx24103-24104; Appx25387; and Appx25389 contains Apple’s
confidential competitively sensitive financial and sales information subject to the
Administrative Protective Order; the material omitted from Appx52602-52608
contains confidential competitively sensitive product of a third party.




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             UNITED STATES INTERNATIONAL TRADE COMMISSION

                                     Washington, D.C.

 In the Matter of

 CERTAIN LIGHT-BASED                                  Inv. No. 337-TA-1276
 PHYSIOLOGICAL MEASUREMENT
 DEVICES AND COMPONENTS THEREOF


        FINAL INITIAL DETERMINATION ON VIOLATION OF SECTION 337

                      Administrative Law Judge Monica Bhattacharyya

                                     (January 10, 2023)

Appearances:

For Complainants Masimo Corporation and Cercacor Laboratories, Inc.:

Stephen C. Jensen, Joseph R. Re, Irfan A. Lateef, Sheila N. Swaroop, Ted M. Cannon, Brian C.
Claassen, Alan G. Laquer, Kendall M. Loebbaka, Daniel C. Kiang, and Douglas B. Wentzel of
Knobbe, Martens, Olson & Bear, LLP in Irvine, CA; William R. Zimmerman and Jonathan E.
Bachand of Knobbe, Martens, Olson & Bear, LLP in Washington, DC; Carol Pitzel Cruz of
Knobbe, Martens, Olson & Bear, LLP in Seattle, WA; and Karl W. Kowallis and Matthew S.
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LLP in Boston, MA; and Michael D. Esch and David Cavanaugh of Wilmer Cutler Pickering
Hale and Dorr LLP in Washington, DC.




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       Pursuant to the Notice of Investigation (EDIS Doc. ID 749538), 86 Fed. Reg. 46275-76

(Aug. 18, 2021), and Commission Rule 210.42, this is the administrative law judge’s final initial

determination on violation in the matter of Certain Light-Based Physiological Measurement

Devices and Components Thereof, Commission Investigation No. 337-TA-1276. 19 C.F.R.

§ 210.42(a)(1)(i).

       For the reasons discussed herein, it is the undersigned’s final initial determination that

there has been a violation of section 337 of the Tariff Act of 1930, as amended, 19 U.S.C.

§ 1337, in the importation into the United States, the sale for importation, and/or the sale within

the United States after importation of certain wearable electronic devices with light-based pulse

oximetry functionality and components thereof by reason of infringement of certain claims of

U.S. Patent No. 10,945,648.

       It is also the undersigned’s final initial determination that there has been no violation of

section 337 of the Tariff Act of 1930, as amended, 19 U.S.C. § 1337, in the importation into the

United States, the sale for importation, and/or the sale within the United States after importation

of certain wearable electronic devices with light-based pulse oximetry functionality and

components thereof with respect to U.S. Patent Nos. 10,912,501, U.S. Patent No. 10,912,502,

U.S. Patent No. 10,687,745, and U.S. Patent No. 7,761,127.




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The following abbreviations may be used in this Initial Determination:

  Tr.           Hearing Transcript
  Dep. Tr.      Deposition Transcript
  JX            Joint Exhibit
  CX            Complainants’ exhibit
  CPX           Complainants’ physical exhibit
  CDX           Complainants’ demonstrative exhibit
  RX            Respondents’ exhibit
  RPX           Respondents’ physical exhibit
  RDX           Respondents’ demonstrative exhibit
  CPHB          Complainants’ pre-hearing brief (EDIS Doc. ID 770786)
  CIB           Complainants’ corrected initial post-hearing brief (EDIS Doc. ID 775422)
  CRB           Complainants’ post-hearing reply brief (EDIS Doc. ID 775058)
  RPHB          Respondents’ corrected pre-hearing brief (EDIS Doc. ID 770874)
  RIB           Respondents’ second corrected initial post-hearing brief (EDIS Doc. ID 779376)
  RRB           Respondents’ corrected post-hearing reply brief (EDIS Doc. ID 779379)




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I.     BACKGROUND

       A.      Procedural History

       The Commission instituted this investigation in response to a complaint filed by

Complainants Masimo Corporation and Cercacor Laboratories, Inc. on June 30, 2021, with an

amended complaint filed on July 12, 2021 (the “Amended Complaint,” EDIS Doc. ID 746186),

and supplemented on July 19, 2021. Notice of Investigation at 1, EDIS Doc. No. 749538 (Aug.

13, 2021); 86 Fed. Reg. 46275-76 (Aug. 18, 2021). The complaint, as amended, alleges

violations of section 337 of the Tariff Act of 1930, as amended, by reason of infringement of

certain claims of U.S. Patent No. 10,912,501 (“the ’501 patent”), U.S. Patent No. 10,912,502

(“the ’502 patent”), U.S. Patent 10,945,648 (“the ’648 patent”), U.S. Patent No. 10,687,745 (“the

’745 patent”), and U.S. Patent No. 7,761,127 (“the ’127 patent”). Id. The Commission ordered

institution of this investigation to determine “whether there is a violation of subsection (a)(1)(B)

of section 337 in the importation into the United States, the sale for importation, or the sale

within the United States after importation of certain products . . . by reason of infringement of

one or more of claims 1-9 and 11-30 of the ’501 patent; claims 1-2, 4-6, 8-12, 14-22, 24-26, and

28-30 of the ’502 patent; claims 1-17 and 19-30 of the ’648 patent; claims 1-6, 8-9, 11, 14, 20-

24, and 26-27 of the ’745 patent; and claims 7-9 of the ’127 patent; and whether an industry in

the United States exists as required by subsection (a)(2) of section 337.” Id. at 2. The

investigation was instituted upon publication of the Notice of Investigation in the Federal

Register on Monday, August 18, 2021. 86 Fed. Reg. 46275-76.

       Respondent Apple Inc. filed a response to the Amended Complaint and Notice of

Investigation on September 7, 2021 (the “Response to Complaint”), disputing Complainants’




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allegations with respect to infringement and domestic industry and asserting affirmative defenses

of invalidity and unenforceability. See EDIS Doc. ID 752521. 1

       Pursuant to Order No. 3 (Sept. 1, 2021), the target date of this investigation was set to be

December 16, 2022. On September 13, 2021, the investigation was assigned by then Chief

Administrative Law Judge Bullock to the undersigned. See Notice to the Parties, EDIS Doc. ID

751531 (Sept. 13, 2021). Pursuant to Order No. 5 (Sept. 22, 2021), the target date was extended

to January 16, 2023. See Comm’n Notice (Oct. 12, 2021), EDIS Doc. ID 754020.

       A technology tutorial and Markman hearing was held on February 17, 2022. See

Markman Tr., EDIS Doc. ID 763489. 2

       Pursuant to Order No. 25 (Mar. 23, 2022), Complainants withdrew their allegations of

infringement with respect to claims 2, 4, 5, 7, 11, 16, 19, 20, and 22-30 of the ’501 patent, claims

1-2, 4-6, 8-12, 14-18, 20, 25, and 26 of the ’502 patent, claims 3, 4, 6, 7, 9, 10, 13-17, 19, 22, and

25-28 of the ’648, and claims 1, 3-6, 8, 11, 14, 20-24, and 26 of the ’745 patent. See Comm’n

Notice, EDIS Doc. ID 768023 (Apr. 12, 2022). Pursuant to Order No. 33 (May 20, 2022),

Complainants withdrew their allegations of infringement with respect to claims 1, 3, 6, 8, 9, 13-

15, 17, 18, and 21 of the ’501 patent, claims 19, 21, 24, 29, and 30 of the ’502 patent, claims 1,

2, 5, 8, 11, 20, 21, 23, and 29 of the ’648, and claim 2 of the ’745 patent. See Comm’n Notice,

EDIS Doc. ID 772826 (Jun. 10, 2022).




1
 The affirmative defenses based on inequitable conduct were stricken pursuant to Order No. 9 (Dec. 20,
2021), and Respondent was subsequently granted leave to add certain inequitable conduct defenses
pursuant to Order No. 23 (Mar. 23, 2022).
2
 All of the claim construction disputes raised at the Markman hearing were subsequently mooted by the
withdrawal of asserted claims or by agreement of the parties. See infra.



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       An evidentiary hearing was held on June 6-10, 2022. The parties filed initial post-

hearing briefs on June 27, 2022, and filed post-hearing reply briefs on July 11, 2022. Additional

exhibits were admitted pursuant to Order No. 50 (Jun. 16, 2022) and Order No. 56 (Aug. 31,

2022). The hearing transcript was amended pursuant to Order No. 51 (Jun. 23, 2022) and Order

No. 52 (Jun. 27, 2022). The parties’ post-hearing briefs were amended pursuant to Order No. 54

(Jul. 14, 2022), Order No. 55 (Jul. 14, 2022), and Order No. 57 (Aug. 31, 2022).

       Pursuant to Order No. 58 (Sept. 12, 2022), Order No. 59 (Oct. 24, 2022), and Order

No. 61 (Dec. 9, 2022), the target date was extended to May 10, 2023. See Comm’n Notice,

EDIS Doc. ID 787448 (Jan. 6, 2023).

       B.      The Parties

               1.     Complainants

       The Complainants are Masimo Corporation (“Masimo”) and Cercacor Laboratories, Inc.

(“Cercacor”) (collectively, “Complainants”). Notice of Investigation at 2. Masimo and Cercacor

are both Delaware corporations having their principal places of business in Irvine, California.

Complaint ¶ 9. Masimo is the owner of the ’501 patent (JX-0001), ’502 patent (JX-0002), ’648

patent (JX-0003), and ’745 patent (JX-0009). Id. ¶ 4. Cercacor is the owner of the ’127 patent

(JX-0007). Id. Masimo and Cercacor have rights to each of the asserted patents through a cross-

licensing agreement. Id. ¶¶ 4, 77; CX-1612C.

               2.     Respondent

       The Respondent is Apple Inc. (“Apple”). Notice of Investigation at 2. Apple is a

California corporation having its principal place of business in Cupertino, California. Response

to Complaint ¶ 21.




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       CONFIDENTIAL MATERIAL FILED UNDER SEAL REDACTED
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       C.      Asserted Patents

       The ’501 patent, ’502 patent, and ’648 patent share a common specification, claiming

priority to an application filed on July 3, 2008. JX-0001; JX-0002; JX-0003. These patents are

entitled “User-Worn Device for Noninvasively Measuring a Physiological Parameter of a User,”

naming inventors Jeroen Poeze et al., and are referenced herein as the “Poeze patents.” Id.

       The ’745 patent is entitled “Physiological Monitoring Devices, Systems, and Methods,”

and claims priority to an application filed on June 28, 2016, naming inventor Ammar Al-Ali.

JX-0009.

       The ’127 patent is entitled “Multiple Wavelength Sensor Substrate” and issued from an

application filed on March 1, 2006, naming inventors Ammar Al-Ali et al. JX-0007.

       D.      Products at Issue

       The products at issue are “wearable electronic devices with light-based pulse oximetry

functionality and components thereof.” Notice of Investigation at 2.

               1.      Accused Products

       Complainants accuse Apple Watch products of infringing the asserted patents, including

the Apple Watch Series 6, the Apple Watch Series 7, and certain prototype Apple Watch

products                                              (“Next Generation Apple Watches”). CIB

at 37-39. Apple has stipulated to the importation of the Apple Watch Series 6, Apple Watch

Series 7, and Next Generation Apple Watches (collectively, the “Accused Products”). See CX-

0128C (Stipulation Regarding Importation and Inventory) at ¶¶ 2-4; CX-1259C (Stipulation

Relating to Next-Generation Watches) at ¶¶ 5-6. The parties have stipulated that the Accused

Products are materially identical for the purposes of infringement in this investigation. See Joint

Stipulation of Facts at ¶¶ 11-13, EDIS Doc. ID 770692 (May 13, 2022); CX-1259C at ¶¶ 7-8.




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               2.      Domestic Industry Products

       With respect to the ’501, ’502, ’648, and ’745 patents, Complainants rely on certain

“Masimo Watch” products. CIB at 26-35. These Masimo Watch products include certain

prototypes identified as the “Circle Sensor” (CPX-0021C), the “Wings Sensor” (CPX-0029C),

the “RevA sensor” (CPX-0052C), the “RevD sensor” (CPX-0058C), the “RevE sensors” (CPX-

0019C, CPX-0020C, CPX-0065C), and a product identified as the Masimo W1 Watch (CPX-

0146C). CIB at 30-35. With respect to the ’127 patent, Complainants rely on certain of

Masimo’s rainbow® sensors. Id. at 36.

       E.      Witness Testimony

       The undersigned received testimonial evidence in this investigation in the form of live

testimony and deposition designations.

               1.      Fact Witnesses

       The first witness at the hearing was Joe Kiani, the chairman and chief executive officer of

Masimo and Cercacor. Tr. at 79-189. Complainants also presented testimony from Mohamed

Diab, an engineer at Masimo, id. at 190-246; Ammar Al-Ali, who oversees technology

development at Masimo, id. at 247-340; and Bilal Muhsin, who is the chief operating officer of

Masimo. Id. at 341-89. Complainants further presented testimony from Stephen Scruggs, the

director of sensor design at Masimo, id. at 390-479; Micah Young, who is Masimo’s chief

financial officer and executive vice president, id. at 481-520; and Jeroen Hammarth, the chief

financial officer of Cercacor. Id. at 521-33.

       Apple presented testimony from several of its employees, including Vivek Venugopal, an

optical engineer, id. at 816-49; Saahil Mehra, who manages product design for the Apple Watch

health sensors, id. at 850-94; Ueyn Block, who worked on the optical architecture for the Apple




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Watch health sensors, id. at 895-917; Stephen Waydo, who is the director of a human interface

device (HID) health group at Apple, id. at 918-51; Brian Land, who leads a health sensing

hardware group at Apple, id. at 952-92; and Paul Mannheimer, a sensor architect and scientist at

Apple, id. at 993-1025. Apple’s counsel also examined Scott Cromar, the prosecuting attorney

for the ’501 patent, ’502 patent, and ’648 patent. Id. at 1026-41. Apple further presented

testimony from Robert Rowe, who was the named inventor of certain asserted prior art. Id. at

1141-53; see id. at 1174:3-1175:7 (no cross-examination for Mr. Rowe).

               2.     Expert Witnesses

       Complainants rely on the testimony of Daniel McGavock, who was admitted as an expert

in financial matters, offering testimony regarding economic domestic industry, bond, and

commercial success. Tr. at 533-76 (expert qualification at 534:25-535:6), 1416-42. With respect

to the ’127 patent, Complainants rely on the testimony of Jack Goldberg, who was admitted as an

expert in the field of physiological monitoring technologies. Id. at 612-63 (expert qualification

at 614:3-11), 1391-1408. With respect to the ’501 patent, ’502 patent, ’648 patent, and ’745

patent, Complainants rely on the testimony of Vijay Madisetti, who was admitted as an expert in

the field of physiological monitoring technologies. Id. at 664-813 (voir dire and expert

qualification at 666:10-674:12). Complainants also rely on the testimony of Robert Stoll, who

was admitted as an expert on Patent Office practice and procedure. Id. at 1409-15 (expert

qualification at 1409:23-1410:4).

       Apple relies on the testimony of Majid Sarrafzadeh, who was admitted as an expert in

physiological monitoring technologies including the design of pulse oximetry sensors, with

respect to the ’745 patent and ’127 patent. Id. at 1042-1138 (expert qualification at 1046:5-12).

With respect to the ’501 patent, ’502 patent, and ’648 patent, Apple relies on the testimony of



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Steven Warren, who was admitted as an expert in biomedical engineering, medical monitoring

systems, biomedical instrumentation, biomedical optics, light issue interaction, diagnostic

systems, wearable sensors, and biomedical signal processing. Id. at 1181-1282 (expert

qualification at 1187:20-1188:11). Apple also relies on the testimony of Vincent Thomas, who

was admitted as an expert in the field of economics and financial analysis, with respect to the

economic prong of the domestic industry requirement. Id. at 1282-1389 (expert qualification at

1283:11-17).

               3.     Deposition Designations

       Complainants submitted several designated deposition transcripts that were received into

evidence without a sponsoring witness: CX-0273C (Amor Dep. Tr.); CX-0281C (Block Dep.

Tr.); CX-0275C (Caldbeck Dep. Tr.); CX-0283C (Charbonneau-Lefort Dep. Tr.); CX-0285C

(Dua Dep. Tr.); CX-0287C (Land Dep. Tr.); CX-0289C (Mannheimer Dep. Tr.); CX-0291C

(Mehra Dep. Tr.); CX-0293C (Rollins Dep. Tr.); CX-0279C (Rowe Dep. Tr.); CX-0295C (Shui

Dep. Tr.); CX-0297C (Venugopal Dep. Tr.); CX-0299C (Waydo Dep. Tr.). See Tr. at 291:22-

299:5. Apple also submitted several designated deposition transcripts that were received into

evidence without a sponsoring witness: RX-1195C (Abdul-Hafiz Dep. Tr.); RX-1296C (Al-Ali

Dep. Tr.); RX-1200C (Diab Dep. Tr.); RX-1201C (Hammarth Dep. Tr.); RX-1202C (Kaufman

Dep. Tr.); RX-1204C (Kiani Dep. Tr.); RX-1206C (Muhsin Dep. Tr.); RX-1209C (Scruggs Dep.

Tr.); RX-1210C (Scruggs 2nd Dep. Tr.); RX-1211C (Young Dep. Tr.). See Tr. at 1323:24-

1324:20.




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II.    JURISDICTION AND IMPORTATION

       A.      Personal Jurisdiction

       Apple has submitted to the personal jurisdiction of the Commission by answering the

Complaint and Notice of Investigation, participating in discovery, appearing at hearings, and

filing motions and briefs. See Certain Miniature Hacksaws, Inv. No. 337-TA-237, USITC Pub.

No. 1948, Initial Determination at 4, 1986 WL 379287, *1 (Oct. 15, 1986), not reviewed in

relevant part by Comm’n Action and Order, 1987 WL 450871 (Jan. 15, 1987). Apple does not

dispute the Commission’s jurisdiction in this investigation. See RIB at 18.

       B.      In Rem Jurisdiction and Importation

       The Commission has in rem jurisdiction over the accused products by virtue of their

importation into the United States. See Sealed Air Corp. v. U.S. Int’l Trade Comm’n, 645 F.2d

976, 985-86 (C.C.P.A. 1981) (holding that the ITC’s jurisdiction over imported articles is

sufficient to exclude such articles). Apple has stipulated to the importation of the Accused

Products. CX-0128C at 1-2; CX-1259C ¶¶ 5-6. Apple does not dispute the Commission’s

jurisdiction in this investigation. See RIB at 18.

III.   LEGAL STANDARDS

       A.      Infringement

       Section 337(a)(1)(B)(i) prohibits “the importation into the United States, the sale for

importation, or the sale within the United States after importation by the owner, importer, or

consignee, of articles that – (i) infringe a valid and enforceable United States patent or a valid

and enforceable United States copyright registered under title 17.” 19 U.S.C. §1337(a)(1)(B)(i).

The Commission has held that the word “infringe” in Section 337(a)(1)(B)(i) “derives its legal

meaning from 35 U.S.C. § 271, the section of the Patent Act that defines patent infringement.”




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Certain Elec. Devices with Image Processing Sys., Components Thereof, and Associated

Software, Inv. No. 337-TA-724, Comm’n Op. at 13-14, EDIS Doc. ID 467105 (Dec. 21, 2011).

         Infringement must be proven by a preponderance of the evidence. SmithKline

Diagnostics, Inc. v. Helena Labs. Corp., 859 F.2d 878, 889 (Fed. Cir. 1988). The preponderance

of the evidence standard “requires proving that infringement was more likely than not to have

occurred.” Warner-Lambert Co. v. Teva Pharm. USA, Inc., 418 F.3d 1326, 1341 n.15 (Fed. Cir.

2005).

                1.     Claim Construction

         “An infringement analysis entails two steps. The first step is determining the meaning

and scope of the patent claims asserted to be infringed. The second step is comparing the

properly construed claims to the device accused of infringing.” Markman v. Westview

Instruments, Inc., 52 F.3d 967, 976 (Fed. Cir. 1995) (en banc), aff’d, 517 U.S. 370 (1996)

(citation omitted). “[T]he construction of claims is simply a way of elaborating the normally

terse claim language[] in order to understand and explain, but not to change, the scope of the

claims.” Embrex, Inc. v. Serv. Eng’g Corp., 216 F.3d 1343, 1347 (Fed. Cir. 2000) (alterations in

original) (quoting Scripps Clinic v. Genentech, Inc., 927 F.2d 1565, 1580 (Fed. Cir. 1991)).

“[O]nly those [claim] terms need be construed that are in controversy, and only to the extent

necessary to resolve the controversy.” Vivid Techs., Inc. v. Am. Sci. & Eng’g, Inc., 200 F.3d 795,

803 (Fed. Cir. 1999). The words of a claim “‘are generally given their ordinary and customary

meaning,’” which is “the meaning that the term would have to a person of ordinary skill in art”

as of the date that the patent application was filed. Phillips v. AWH Corp., 415 F.3d 1303, 1312-

13 (Fed. Cir. 2005) (en banc) (quoting Vitronics Corp. v. Conceptronic, Inc., 90 F.3d 1576, 1582

(Fed. Cir. 1996)).



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               2.      Direct and Indirect Infringement

       A patent claim is directly infringed when a respondent “makes, uses, offers to sell, or

sells any patented invention, within the United States, or imports into the United States any

patented invention” without consent of the patent owner. 35 U.S.C. § 271(a)

       In addition to direct infringement, a respondent may be liable for indirect infringement,

including induced infringement, which is defined in section 271(b) of the Patent Act: “Whoever

actively induces infringement of a patent shall be liable as an infringer.” 35 U.S.C. § 271(b).

See DSU Med. Corp. v. JMS Co., Ltd., 471 F.3d 1293, 1305 (Fed. Cir. 2006) (en banc) (“To

establish liability under section 271(b), a patent holder must prove that once the defendants knew

of the patent, they actively and knowingly aided and abetted another’s direct infringement.”)

(citations omitted). “The mere knowledge of possible infringement by others does not amount to

inducement; specific intent and action to induce infringement must be proven.” Id. (citations

omitted). The Supreme Court has held that induced infringement “requires knowledge that the

induced acts constitute patent infringement.” Global-Tech Appliances, Inc. v. SEB S.A., 563 U.S.

754, 766 (2011). In Suprema, Inc. v. Int’l Trade Comm’n, the Federal Circuit upheld the

Commission’s interpretation of the section 337 language “articles that infringe” in the context of

induced infringement, holding that the statute “covers goods that were used by an importer to

directly infringe post-importation as a result of the seller’s inducement.” 796 F.3d 1338, 1352-

53 (Fed. Cir. 2015).

       Another form of indirect infringement is contributory infringement, defined in section

271(c) of the Patent Act: “Whoever offers to sell . . . or imports into the United States a

component of a patented machine, . . . or a material or apparatus for use in practicing a patented

process, constituting a material part of the invention, knowing the same to be especially made or



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especially adapted for use in an infringement of such patent, and not a staple article or

commodity of commerce suitable for substantial noninfringing use, shall be liable as a

contributory infringer.” 35 U.S.C. § 271(c). The intent requirement for contributory

infringement requires that respondent knows “that the combination for which [the] component

was especially designed was both patented and infringing.” Global-Tech, 563 U.S. at 763. A

violation of section 337 based on contributory infringement requires that “the accused infringer

imported, sold for importation, or sold after importation within the United States, the accused

components that contributed to another’s direct infringement.” Spansion, Inc. v. Int’l Trade

Comm’n, 629 F.3d 1331, 1353 (Fed. Cir. 2010).

               3.      Literal Infringement and the Doctrine of Equivalents

       A complainant must prove either literal infringement or infringement under the doctrine

of equivalents. Literal infringement requires the patentee to prove that the accused device meets

each and every limitation of the asserted claim(s). Frank’s Casing Crew & Rental Tools, Inc. v.

Weatherford Int’l, Inc., 389 F.3d 1370, 1378 (Fed. Cir. 2004). “If even one limitation is missing

or not met as claimed, there is no literal infringement.” Elkay Mfg. Co. v. EBCO Mfg. Co., 192

F.3d 973, 980 (Fed. Cir. 1999). Literal infringement is a question of fact. Finisar Corp. v.

DirecTV Grp., Inc., 523 F.3d 1323, 1332 (Fed. Cir. 2008). Under the doctrine of equivalents, “a

product or process that does not literally infringe upon the express terms of a patent claim may

nonetheless be found to infringe if there is ‘equivalence’ between the elements of the accused

product or process and the claimed elements of the patented invention.” Warner-Jenkinson Co.

v. Hilton Davis Chem. Co., 520 U.S. 17, 21 (1997).

       B.      Invalidity

       It is the respondents’ burden to prove invalidity, and the burden of proof never shifts to




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the patentee to prove validity. Scanner Techs. Corp. v. ICOS Vision Sys. Corp. N.V., 528 F.3d

1365, 1380 (Fed. Cir. 2008). “Under the patent statutes, a patent enjoys a presumption of

validity, see 35 U.S.C. § 282, which can be overcome only through facts supported by clear and

convincing evidence . . . .” SRAM Corp. v. AD-II Eng’g, Inc., 465 F.3d 1351, 1357 (Fed. Cir.

2006); see also Microsoft Corp. v. i4i Ltd. P’ship, 564 U.S. 91, 100-114 (2011) (upholding the

“clear and convincing” standard for invalidity).

       The clear and convincing evidence standard placed on the party asserting an invalidity

defense requires a level of proof beyond the preponderance of the evidence. Although not

susceptible to precise definition, “clear and convincing” evidence has been described as evidence

that produces in the mind of the trier of fact “an abiding conviction that the truth of a factual

contention is ‘highly probable.’” Price v. Symsek, 988 F.2d 1187, 1191 (Fed. Cir. 1993) (quoting

Buildex, Inc. v. Kason Indus., Inc., 849 F.2d 1461, 1463 (Fed. Cir. 1988)).

               1.      Anticipation

       Pursuant to 35 U.S.C. § 102, a patent claim is invalid as anticipated if:

           (1) the claimed invention was patented, described in a printed publication,
           or in public use, on sale, or otherwise available to the public before the
           effective filing date of the claimed invention; or

           (2) the claimed invention was described in a patent issued under section
           151, or in an application for patent published or deemed published under
           section 122(b), in which the patent or application, as the case may be,
           names another inventor and was effectively filed before the effective filing
           date of the claimed invention.

35 U.S.C. § 102 (2012). “A patent is invalid for anticipation if a single prior art reference discloses

each and every limitation of the claimed invention. Moreover, a prior art reference may anticipate

without disclosing a feature of the claimed invention if that missing characteristic is necessarily




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present, or inherent, in the single anticipating reference.” Schering Corp. v. Geneva Pharm., Inc.,

339 F.3d 1373, 1377 (Fed. Cir. 2003) (citations omitted).

                2.      Obviousness

        Section 103 of the Patent Act states:

            A patent for a claimed invention may not be obtained, notwithstanding
            that the claimed invention is not identically disclosed as set forth in
            section 102, if the differences between the claimed invention and the prior
            art are such that the claimed invention as a whole would have been
            obvious before the effective filing date of the claimed invention to a
            person having ordinary skill in the art to which the claimed invention
            pertains. Patentability shall not be negated by the manner in which the
            invention was made.

35 U.S.C. § 103(a) (2012).

        “Obviousness is a question of law based on underlying questions of fact.” Scanner

Techs., 528 F.3d at 1379. The underlying factual determinations include: “(1) the scope and

content of the prior art, (2) the level of ordinary skill in the art, (3) the differences between the

claimed invention and the prior art, and (4) objective indicia of non-obviousness.” Id. at 1380

(citing Graham v. John Deere Co., 383 U.S. 1, 17-18 (1966)). These factual determinations are

often referred to as the “Graham factors.”

        A critical inquiry in determining the differences between the claimed invention and the

prior art is whether there is a reason to combine the prior art references. KSR Int’l Co. v. Teleflex

Inc., 550 U.S. 398, 418-21 (2007). In KSR, the Supreme Court rejected the Federal Circuit’s

rigid application of a “teaching-suggestion-motivation” test—while the Court stated that “it can

be important to identify a reason that would have prompted a person of ordinary skill in the

relevant field to combine the elements in the way the claimed new invention does,” it described a

more flexible analysis:




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           Often, it will be necessary for a court to look to interrelated teachings of
           multiple patents; the effects of demands known to the design community
           or present in the marketplace; and the background knowledge possessed
           by a person having ordinary skill in the art, all in order to determine
           whether there was an apparent reason to combine the known elements in
           the fashion claimed by the patent at issue . . . . As our precedents make
           clear, however, the analysis need not seek out precise teachings directed to
           the specific subject matter of the challenged claim, for a court can take
           account of the inferences and creative steps that a person of ordinary skill
           in the art would employ.

Id. at 418. Applying KSR, the Federal Circuit has held that, where a patent challenger contends

that a patent is invalid for obviousness based on a combination of prior art references, “the

burden falls on the patent challenger to show by clear and convincing evidence that a person of

ordinary skill in the art would have had reason to attempt to make the composition or device . . .

and would have had a reasonable expectation of success in doing so.” PharmaStem

Therapeutics, Inc. v. ViaCell, Inc., 491 F.3d 1342, 1360 (Fed. Cir. 2007).

       In addition to demonstrating that a reason exists to combine prior art references, the

challenger must demonstrate that the combination of prior art references discloses all of the

limitations of the claims. Hearing Components, Inc. v. Shure Inc., 600 F.3d 1357, 1373-1374

(Fed. Cir. 2010), abrogated on other grounds by Nautilus, Inc. v. Biosig Instruments, Inc., 572

U.S. 898 (2014) (upholding finding of non-obviousness based on substantial evidence that the

asserted combination of references failed to disclose a claim limitation); Velander v. Garner, 348

F.3d 1359, 1363 (Fed. Cir. 2003) (explaining that a requirement for a finding of obviousness is

that “all the elements of an invention are found in a combination of prior art references”).

               3.      Indefiniteness

       “The Patent Act requires that a patent specification ‘conclude with one or more

claims particularly pointing out and distinctly claiming the subject matter which the applicant

regards as [the] invention.’” Nautilus, Inc. v. Biosig Instruments, Inc., 572 U.S. 898 (2014)


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(quoting 35 U.S.C. § 112, ¶ 2). “[T]he second paragraph of § 112 contains two requirements:

first, [the claim] must set forth what the applicant regards as his invention, and second, it must do

so with sufficient particularity and distinctness, i.e., the claim must be sufficiently definite.”

Allen Eng’g Corp. v. Bartell Indus., Inc,. 299 F.3d 1336, 1348 (Fed. Cir. 2002) (citation and

internal quotation marks omitted) (alteration in original). A claim does not satisfy the second

requirement and is thereby indefinite “if read in light of the specification delineating the patent,

and the prosecution history, [the claim] fail[s] to inform, with reasonable certainty, those skilled

in the art about the scope of the invention.” Nautilus, 534 U.S. at 901. Indefiniteness is a

question of law, subject to a determination of underlying facts. Akzo Nobel Coatings, Inc. v.

Dow Chem. Co., 811 F.3d 1334, 1343-44 (Fed. Cir. 2016). The party challenging the validity of

a claim bears the burden of establishing indefiniteness. Id.

               4.      Written Description

       Under 35 U.S.C. § 112, ¶ 1, the specification must provide a written description of the

claimed invention that “reasonably conveys to those skilled in the art that the inventor had

possession of the claimed subject matter as of the filing date.” Ariad Pharm., Inc. v. Eli Lilly

and Co., 598 F.3d 1336, 1351 (Fed. Cir. 2010) (en banc). Determining whether the written

description requirement has been satisfied “requires an objective inquiry into the four corners of

the specification from the perspective of a person of ordinary skill in the art” to determine

whether the specification “show[s] that the inventor actually invented the invention claimed.”

Id.

               5.      Enablement

       The enablement requirement is set forth in 35 U.S.C. § 112, ¶ 1 and provides in pertinent

part that the specification shall describe “the manner and process of making and using [the




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invention], in such full, clear, concise, and exact terms as to enable any person skilled in the art

to which it pertains, or with which it is most nearly connected, to make and use the [invention].”

The “enablement requirement is satisfied when one skilled in the art, after reading the

specification, could practice the claimed invention without undue experimentation.” AK Steel

Corp. v. Sollac & Ugine, 344 F.3d 1234, 1244 (Fed. Cir. 2003). Whether undue experimentation

is needed is not a single, simple factual determination, but rather is a conclusion reached by

weighing many factual considerations. In re Wands, 858 F.2d 731, 737 (Fed. Cir. 1988).

       C.      Inequitable Conduct

       A patent containing a claim obtained through inequitable conduct is unenforceable.

Therasense, Inc. v. Becton, Dickinson & Co., 649 F.3d 1276, 1288-89 (Fed. Cir. 2011) (en banc).

“Moreover, the taint of a finding of inequitable conduct can spread from a single patent to render

unenforceable other related patents and applications in the same technology family.” Id. (citing

Consol. Aluminum Corp. v. Foseco Int’l Ltd., 910 F.2d 804, 808-12 (Fed. Cir. 1990)).

       “To prevail on the defense of inequitable conduct, the accused infringer must prove that

the applicant misrepresented or omitted material information with the specific intent to deceive

the PTO.” Id. at 1287. The failure to disclose a reference to the PTO constitutes inequitable

conduct only if “the applicant made a deliberate decision to withhold a known material

reference.” Id. at 1290 (quoting Molins PLC v. Textron, Inc., 48 F.3d 1172, 1182 (Fed. Cir.

1995)) (internal quotation marks omitted; emphasis in original). “In other words, the accused

infringer must prove by clear and convincing evidence that the applicant knew of the reference,

knew that it was material, and made a deliberate decision to withhold it.” Id. Inequitable

conduct based on the failure to disclose a reference requires a showing of “but for” materiality

for the reference. Id. at 1291. The “but for” materiality requirement is satisfied “if the PTO



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would not have allowed a claim had it been aware of the undisclosed prior art.” Id. In

determining whether “but for” materiality requirement is satisfied, the “the court should apply

the preponderance of the evidence standard and give claims their broadest reasonable

construction.” Id. at 1291-92.

        While deceptive intent may be inferred solely from circumstantial evidence, “[t]o meet

the clear and convincing evidence standard, the specific intent to deceive must be ‘the single

most reasonable inference able to be drawn from the evidence.’” Id. (quoting Star Scientific Inc.

v. R.J. Reynolds Tobacco Co., 537 F.3d 1357, 1366 (Fed. Cir. 2008)).

        D.      Domestic Industry

        In patent-based proceedings under section 337, a complainant must establish that an

industry “relating to the articles protected by the patent . . . exists or is in the process of being

established” in the United States. 19 U.S.C. § 1337(a)(2). Under Commission precedent, the

domestic industry requirement of section 337 consists of a “technical prong” and an “economic

prong.” See, e.g., Alloc, Inc. v. Intl Trade Comm’n, 342 F.3d 1361, 1375 (Fed. Cir. 2003).

        To meet the technical prong, the complainant must establish that it practices at least one

claim of the asserted patent. Certain Point of Sale Terminals and Components Thereof, Inv. No.

337-TA-524, Order No. 40 at 17-18, EDIS Doc. ID 230409 (Apr. 11, 2005). “The test for

satisfying the ‘technical prong’ of the industry requirement is essentially [the] same as that for

infringement, i.e., a comparison of domestic products to the asserted claims.” Alloc, 342 F.3d at

1375.

        With respect to the “economic prong,” subsection (3) of Section 337(a) provides:

        For purposes of paragraph (2), an industry in the United States shall be
        considered to exist if there is in the United States, with respect to the
        articles protected by the patent, copyright, trademark, mask work, or design
        concerned –


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               (A) significant investment in plant and equipment;

               (B) significant employment of labor or capital; or

               (C) substantial investment in its exploitation, including engineering,
               research and development, or licensing.

19 U.S.C. § 1337(a)(3).

       Expenditures may be counted toward satisfaction of the domestic industry requirement

“as long as those investments pertain to the complainant’s industry with respect to the articles

protected by the asserted IP rights.” Certain Television Sets, Television Receivers, Television

Tuners, and Components Thereof, Inv. No. 337-TA-910, Comm’n Op. at 68, 2015 WL 6755093,

at *36 (Oct. 30, 2015); accord, e.g., Certain Marine Sonar Imaging Devices, Including

Downscan and Sidescan Devices, Prods. Containing the Same, and Components Thereof, Inv.

No. 337-TA-921, Comm’n Op., 2016 WL 10987364, at *40 (Jan. 6, 2016) (“Navico’s allocation

methodology reasonably approximates the warranty and technical customer support expenditures

relating to the LSS-1 product.”) (citing Certain Ground Fault Circuit Interrupters and Prods.

Containing Same, Inv. No. 337-TA-739, Comm’n Op. at 74-75, 79-81 (June 8, 2012)).

Subsections (A), (B), and (C) are listed in the disjunctive, and accordingly, the domestic industry

investments in plant and equipment or labor and capital can include expenditures that relate to

engineering or research and development. Certain Solid State Storage Drives, Stacked

Electronics Components, and Products Containing Same, Inv. No. 337-TA-1097, Comm’n Op.

at 14, EDIS Doc. ID 649139 (June 29, 2018) (“[T]he text of the statute, the legislative history,

and Commission precedent do not support narrowing subsections (A) and (B) to exclude non-

manufacturing activities, such as investments in engineering and research and development.”).

       Whether a complainant satisfies the economic prong is not analyzed according to a rigid

mathematical formula. Certain Male Prophylactic Devices, Inv. No. 337-TA-546, Comm’n Op.



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at 39, EDIS Doc. ID 279161 (Aug. 1, 2007). The decision is made on a case-by-case basis and

requires “an examination of the facts in each investigation, the article of commerce, and the

realities of the marketplace.” Id. Although Section 337(a)(3) describes the economic activities

as “significant” and “substantial,” a complainant does not need to show any “minimum monetary

expenditure,” and a complainant does not “need to define or quantify the industry itself in

absolute mathematical terms.” Stringed Musical Instruments & Components Thereof (“Stringed

Musical Instruments”), Inv. No. 337-TA-586, Comm’n Op. at 26, EDIS Doc. ID 300615 (May

16, 2008). “A precise accounting [of the complainant’s domestic investments] is not necessary,

as most people do not document their daily affairs in contemplation of possible litigation.” Id. at

17.

       The Commission has held that “[o]rdinarily, the relevant date at which to determine if the

domestic industry requirement of section 337 is satisfied is the filing date of the complaint.”

Certain Thermoplastic-Encapsulated Electric Motors, Components Thereof, and Products and

Vehicles Containing the Same, Inv. No. 337-TA-1073, Comm’n Op. at 6-7, EDIS Doc. ID

684974 (Aug. 12, 2019). In Stringed Musical Instruments, the Commission held that a domestic

industry is in the process of being established when (1) a complainant takes “the necessary

tangible steps to establish such an industry in the United States,” and (2) there is a “significant

likelihood that the industry requirement will be satisfied in the future.” Inv. No. 337-TA-586,

Comm’n Op. at 14-17, EDIS Doc. ID 300615 (May 16, 2008).

IV.    POEZE PATENTS

       The ’501 patent, ’502 patent, and ’648 patent are entitled “User-Worn Device for

Noninvasively Measuring a Physiological Parameter of a User,” sharing a common specification

and naming inventors Jeroen Poeze et al. JX-0001; JX-0002; JX-0003. These patents are



                                                 19
                                        Appx23154
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collectively referred to herein as the “Poeze patents.” The Poeze patents issued from

applications filed on September 24, 2020, claiming priority to earlier patent applications, with

the earliest provisional application filed on July 3, 2008. See Id.

       A.      Specification

       The Poeze patents’ specification describes non-invasive physiological sensors for

measuring blood constituents or analytes using multi-stream spectroscopy. JX-0001 at 7:18-26.

These sensors use an emitter that can uses optical radiation at different wavelengths to measure

blood analytes like glucose, hemoglobin, or oxygen saturation. Id. at 12:13-13:58. The sensors

are connected to handheld or portable monitoring devices that can be attached to a patient’s

body. Id. at 16:31-17:19. In one embodiment, the housing is designed to receive a patient’s

finger, which can be placed on a protrusion (305) that includes openings or windows (320, 321,

322, and 323) that allow light from the emitter to reach photodetectors. Id. at 19:13-20:15.




                                                 20
                                        Appx23155
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Id. at Fig. 3C. One portion of the housing may include LEDs that emit optical radiation passing

through a finger before being received by the photodetectors on the other portion of the housing.

Id. at 26:30-27:41.




Id. at Fig. 7A.

        B.        Asserted claims

        Masimo asserts claim 12 of the ’501 patent, which depends from claim 1. See CIB at 53-

66. Claims 1 and 12 of the ’501 patent are recited below:

        1. A user-worn device configured to non-invasively measure a physiological
          parameter of a user, the user-worn device comprising:

        at least three light emitting diodes (LEDs);

        at least three photodiodes arranged on an interior surface of the user-worn device
          and configured to receive light attenuated by tissue of the user;




                                                 21
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        a protrusion arranged over the interior surface, the protrusion comprising a
          convex surface and a plurality of openings extending through the protrusion and
          positioned over the three photodiodes, the openings each comprising an opaque
          lateral surface, the plurality of openings configured to allow light to reach the
          photodiodes, the opaque lateral surface configured to avoid light piping through
          the protrusion; and

        one or more processors configured to receive one or more signals from the
          photodiodes and calculate a measurement of the physiological parameter of the
          user.

JX-0001 at 45:2-19.

        12. The user-worn device of claim 1, wherein the convex surface of the protrusion
          is an outermost surface configured to contact the tissue of the user and conform
          the tissue into a concave shape.

Id. at 46:4-8.

        Masimo also asserts claim 22 of the ’502 patent, which depends from claims 19, 20, and

21, and claim 28, a separate independent claim. See CIB at 66-77. These claims of the ’502

patent are recited below:

        19. A user-worn device configured to non-invasively measure an oxygen
          saturation of a user, the user-worn device comprising:

        a plurality of emitters configured to emit light, each of the emitters comprising at
          least two light emitting diodes (LEDs);

        four photodiodes arranged within the user-worn device and configured to receive
          light after at least a portion of the light has been attenuated by tissue of the user;

        a protrusion comprising a convex surface including separate openings extending
          through the protrusion and lined with opaque material, each opening positioned
          over a different one associated with each of the four photodiodes, the opaque
          material configured to reduce an amount of light reaching the photodiodes
          without being attenuated by the tissue;

        optically transparent material within each of the openings; and

        one or more processors configured to receive one or more signals from at least
          one of the four photodiodes and output measurements responsive to the one or
          more signals, the measurements indicative of the oxygen saturation of the user.

        20. The user-worn device of claim 19 further comprising a thermistor.


                                                  22
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       21. The user-worn device of claim 20, wherein the one or more processors are
         further configured to receive a temperature signal from the thermistor and adjust
         operation of the user-worn device responsive to the temperature signal.

       22. The user-worn device of claim 21, wherein the plurality of emitters comprise
         at least four emitters, and wherein each of the plurality of emitters comprises a
         respective set of at least three LEDs.

JX-0002 at 46:22-54.

       28. A user-worn device configured to non-invasively measure an oxygen
         saturation of a user, the user-worn device comprising:

       a first set of light emitting diodes (LEDs), the first set of LEDs comprising at least
         an LED configured to emit light at a first wavelength and an LED configured to
         emit light at a second wavelength;

       a second set of LEDs spaced apart from the first set of LEDs, the second set of
         LEDs comprising at least an LED configured to emit light at the first
         wavelength and an LED configured to emit light at the second wavelength;

       four photodiodes arranged in a quadrant configuration on an interior surface of the
         user-worn device and configured to receive light after at least a portion of the
         light has been attenuated by tissue of the user;

       a thermistor configured to provide a temperature signal;

       a protrusion arranged above the interior surface, the protrusion comprising:

       a convex surface;

       a plurality of openings in the convex surface, extending through the protrusion,
         and aligned with the four photodiodes, each opening defined by an opaque
         surface configured to reduce light piping; and

       a plurality of transmissive windows, each of the transmissive windows extending
         across a different one of the openings;

       at least one opaque wall extending between the interior surface and the protrusion,
         wherein at least the interior surface, the opaque wall and the protrusion form
         cavities, wherein the photodiodes are arranged on the interior surface within the
         cavities;

       one or more processors configured to receive one or more signals from at least
         one of the photodiodes and calculate an oxygen saturation measurement of the
         user, the one or more processors further configured to receive the temperature
         signal;



                                                23
                                       Appx23158
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       a network interface configured to wirelessly communicate the oxygen saturation
         measurement to at least one of a mobile phone or an electronic network;

       a user interface comprising a touch-screen display, wherein the user interface is
         configured to display indicia responsive to the oxygen saturation measurement
         of the user;

       a storage device configured to at least temporarily store at least the measurement;
         and

       a strap configured to position the user-worn device on the user.

Id. at 47:13-23.

       Masimo further asserts claim 12 of the ’648 patent, which depends from claim 8, and

claims 24 and 30, which depend from claim 20. See CIB at 77-83. These claims of the ’648

patent are recited below:

       8. A user-worn device configured to non-invasively determine measurements of a
         physiological parameter of a user, the user-worn device comprising:

       a first set of light emitting diodes (LEDs), the first set comprising at least an LED
         configured to emit light at a first wavelength and at least an LED configured to
         emit light at a second wavelength;

       a second set of LEDs spaced apart from the first set of LEDs, the second set of
         LEDs comprising an LED configured to emit light at the first wavelength and an
         LED configured to emit light at the second wavelength;

       four photodiodes;

       a protrusion comprising a convex surface, at least a portion of the protrusion
         comprising an opaque material;

       a plurality of openings provided through the protrusion and the convex surface,
         the openings aligned with the photodiodes;

       a separate optically transparent window extending across each of the openings;

       one or more processors configured to receive one or more signals from at least
         one of the photodiodes and output measurements of a physiological parameter
         of a user;

       a housing; and




                                                24
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        a strap configured to position the housing proximate tissue of the user when the
          device is worn.

JX-0003 at 45:45-46:3.

        12. The user-worn device of claim 8, wherein the physiological parameter
          comprises oxygen or oxygen saturation.

Id. at 46:15-16.

        20. A user-worn device configured to non-invasively determine measurements of
          a user's tissue, the user-worn device comprising:

        a plurality of light emitting diodes (LEDs);

        at least four photodiodes configured to receive light emitted by the LEDs, the four
          photodiodes being arranged to capture light at different quadrants of tissue of a
          user;

        a protrusion comprising a convex surface and a plurality of through holes, each
          through hole including a window and arranged over a different one of the at
          least four photodiodes; and

        one or more processors configured to receive one or more signals from at least
          one of the photodiodes and determine measurements of oxygen saturation of the
          user.

Id. at 46:34-49.

        24. The user-worn device of claim 20, wherein the protrusion comprises opaque
          material configured to substantially prevent light piping.

Id. at 46:59-61.

        30. The user-worn device of claim 20, wherein the protrusion further comprises
          one or more chamfered edges.

Id. at 47:6-7.

        C.       Level of Ordinary Skill in the Art

        The parties have stipulated to a level of ordinary skill in the art for the Poeze patents:

             [A] person with a working knowledge of physiological monitoring
             technologies. The person would have had a Bachelor of Science degree in
             an academic discipline emphasizing the design of electrical, computer, or
             software technologies, in combination with training or at least one to two



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             years of related work experience with capture and processing of data or
             information, including but not limited to physiological monitoring
             technologies. Alternatively, the person could have also had a Master of
             Science degree in a relevant academic discipline with less than a year of
             related work experience in the same discipline.

Joint Stipulation of Facts ¶ 12, EDIS Doc. ID 770692 (May 13, 2022).

        D.      Claim Construction

        The parties dispute the construction of the terms “over”/”above” and the terms

“openings”/”through holes” in the claims of the Poeze patents. See CIB at 42-53; RIB at 26-39;

CRB at 13-19; RRB at 23-34. 3

                1.      “over”/“above”

        Several of the asserted claims of the Poeze patents contain limitations describing a

protrusion that is “arranged over” or “arranged above” an interior surface. See ’501 patent claim

1 (“a protrusion arranged over the interior surface”); ’502 patent claim 28 (“a protrusion

arranged above the interior surface”). Other limitations describe openings that are “positioned

over” or “arranged over” photodiodes. See ’501 patent claim 1 (“a plurality of openings

extending through the protrusion and positioned over the three photodiodes”); ’502 patent claim

19 (“each opening positioned over a different one associated with each of the four photodiodes”);

’648 claim 20 (“each through hole including a window and arranged over a different one of the

at least four photodiodes”).




3
 The parties both argue that certain claim construction arguments were waived because they were not
previously raised, see RIB at 37-38, CRB at 19 n.4, RRB at 31 n.17, 33 n.22, but these claim construction
disputes were clearly addressed in the parties’ pre-hearing briefs and pertain to the plain and ordinary
meaning of the terms at issue. See CPBH at 39-43; RPHB at 8-15. Ground Rule 9.2 does not preclude
parties from citing additional evidence that was admitted at the hearing to support arguments that are
consistent with their pre-hearing briefs.



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       Apple interprets the “over” and “above” limitations to require that the claimed features be

arranged vertically when the claimed device is in use. RIB at 26-34. Complainants argue that

these terms refer to “the configuration of features of the device relative to each other, not to the

position of the device relative to the Earth.” CIB at 43. Both parties purport to rely on the

ordinary meaning of these terms, without proposing any explicit construction. CIB at 42-49;

RRB at 21.

       Apple relies on the preambles of the asserted claims describing “a user-worn device

configured to non-invasively measure a physiological parameter” to argue that the orientation of

the claimed features must be considered when a device is in use. RIB at 27-28. Complainants

dispute this interpretation, arguing that “configured to” refers to the design of the product, not

the orientation of components. CIB at 45. Complainants argue that the devices described in the

specification do not have a fixed orientation and that the embodiments of the invention show

“that the protrusion is arranged over the photodiodes and their interior surface by extending

across that surface.” Id. at 43. Complainants note that the patent specification describes a

variety of measurement sites without reference to any specific orientation. CRB at 14 (citing JX-

0001 at 8:21-23, 10:15-27, 10:62-11:3, 11:45-55). Complainants cite an example in one

embodiment of a material described as “over” the glass layer when it is depicted as below the

layer in Figure 7A. Id. at 45-46 (citing JX-0001 at 27:59-62, Fig. 7A). Dr. Madisetti testified

that Complainants’ interpretation is consistent with the ordinary meaning of “over,” citing the

example of a bandage over a wound, explaining that “the Band-Aid is always over the scratch

[ir]respective of the orientation of my hand.” Tr. at 701:22-18.

       Complainants also cite extrinsic evidence in Apple patents and prior art using the terms

“over” and “above” to describe the arrangement of features similar to those claimed in the Poeze



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                                        Appx23162
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patents. CIB at 46-49. See, e.g., U.S. Patent No. 10,687,718 (CX-0118) at 32:17-23 (“For

example, a back surface may comprise a first semi-circular protrusion that extends over the

portions of the back surface.”), 35:38-55 (FIG. 222A depicts . . . a protrusion 2202 disposed over

an optical opening 2204.”); U.S. Patent App. Pub. No. 2021/0093237 (CX-0103) at ¶ 0065 (“In

some embodiments, windows 1220 over the emitters may be integral with the back cover 107

and windows 120 over the detectors may be inset within the back cover 107.”); U.S. Patent App.

Pub. No. 2017/03255744 (CX-1806) at ¶ 0044 (“For example, the back surface can include one

or more cavities having a corresponding opening and a protrusion located over each of the

openings.”); U.S. Patent No. 4,224,948 (RX-0670) at 9:51-56 (“wherein said first and second

light obstructing means comprise a pair of annular rings extending above the surface of the lower

face of said case whereby said rings are in contact with the skin of the wearer”).

        Apple argues that Complainants’ interpretation of the “over” and “above” limitations

would render these terms meaningless. RRB at 23-24. Apple cites figures in the specification

that consistently describe the claimed protrusion and openings located on top of the photodiodes.

Id. at 24-26 (citing JX-0001 at 24:28-33, Figures 3C, 4C, 7B). Apple argues that the

specification’s use of the term “over” within the phrase “spread over” is irrelevant to the

meaning of the claim phrases “positioned over” and “arranged over.” RIB at 25-26. Apple

further argues that in the Apple patents and patent applications using the term “over,” the

descriptions refer to devices that are depicted in a face-down position, not when they are

configured to measure blood oxygen. Id. at 26-28. Apple argues that the “configured to”

language in the claims requires that that the features have a specific orientation when the device

is in use. Id. at 28-29.




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                                       Appx23163
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        In consideration of the parties’ arguments and the evidence of record, the undersigned

agrees with Complainants that the claim limitations using the terms “over” and “above” do not

require a vertical arrangement of features in the context of the Poeze patents. The terms “over”

and “above” are commonly understood words with ordinary meanings that can be understood by

a lay judge. See Phillips, 415 F.3d at 1314. The undersigned agrees with Apple that the word

“over” may be used to describe a vertical arrangement, but “over” can also be used to describe an

arrangement where one feature covers another, as recognized by Dr. Madisetti’s example of a

bandage over a wound. Tr. (Madisetti) at 701:22-18. This is a common usage of the term “over”

in the field of wearable medical equipment, e.g., a mask over one’s mouth, or in the field of

optical sensors, e.g., a filter over a lens. This is consistent with how the term “over” is used in the

asserted claims of the Poeze patents, describing “a protrusion arranged over the interior surface”

and openings “positioned over” or “arranged over” photodiodes. In the context of this claim

language, the term “over” refers to an arrangement where one feature covers another—not the

relative arrangement of these features in a vertical direction. 4 The ordinary meaning of the claim

language does not restrict the orientation of these features, and whether the claimed photodiodes




4
  The term “above” is only used in asserted claim 28 of the ’502 patent to refer to “a protrusion arranged
above the interior surface.” The undersigned agrees with Complainants that the patent specification does
not require any specific orientation of the device and that the term “above” thus refers to a position
relative to the device’s features and not to its orientation relative to the Earth. See CIB at 43-49; CRB at
15-16. This is also consistent with the usage of the term in a prior art reference relied upon for invalidity
purposes by Apple where the term “above” is used to refer to rings that extend beyond a surface,
regardless of vertical orientation. See RX-0670 (Cramer) at claim 5 (“a pair of annular rings extending
above the surface of the lower face of said case”). It is also consistent with the testimony of Apple’s
expert, Dr. Warren, that “[a] detector can’t detect light without some sort of opening above it.” Tr.
(Warren) at 1193:5-6; see also RIB at 61 (same). Apple argues that “Cramer does not disclose
restrictions on orientation” (RRB at 29) but this fact weighs against Apple’s proposed construction: if the
Cramer device can be in any orientation, the term “above” should have a meaning independent from
orientation.



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                                           Appx23164
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are facing upward or downward in relation to the Earth does not affect a device’s satisfaction of

this limitation. 5

        Accordingly, the undersigned finds that the terms “over” and “above” have their plain

and ordinary meaning and do not require a vertical arrangement of features in a particular

orientation.

                 2.     “openings”/“through holes”

        Several of the asserted claims (or claims from which the asserted claims depend) contain

limitations describing “openings” that extend “through the protrusion.” See ’501 patent claim 1

(“a plurality of openings extending through the protrusion”); ’502 patent claim 19 (“separate

openings extending through the protrusion”), claim 28 (“a plurality of openings in the convex

surface, extending through the protrusion”); ’648 patent claim 8 (“a plurality of openings

provided through the protrusion and the convex surface”). Claim 20 of the ’648 patent describes

“a plurality of through holes, each through hole including a window.”

        Apple argues that the claimed “openings” or “through holes” must not contain any

material, such as glass or plastic. RIB at 34-39; RRB at 30-34; id. at 30 n.16 (“openings—like

holes—require an absence of material”). Complainants submit that the claimed “openings” or

“through holes” can contain a window of transparent material. CIB at 49-53; CRB at 17-18.

Both parties purport to rely on the ordinary meaning of these terms, without proposing any

explicit construction. CIB at 53; RRB at 30-31.

        Complainants cite evidence in the claims and specification of the Poeze patents that the

claimed “openings” and “through holes” can contain a window of transparent material. CIB at



5
  Apple’s arguments regarding the “configured to” language of the claim preambles are thus irrelevant to
the construction of this limitation.



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                                          Appx23165
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49-51. Complainants submit that the purpose of these openings is to allow light to pass through,

citing claim 1 of the ’501 patent, which describes “the plurality of openings configured to allow

light to reach the photodiodes.” JX-0001 at claim 1. Complainants cite examples in the claims

and specification of the Poeze patents describing transparent windows in the relevant openings

and through holes. CIB at 49-51. Complainants further identify Apple patents that refer to

“openings” and “windows.” Id. at 52-53. In reply, Apple cites testimony of its engineers

describing                                                                     . RRB at 33-34.

Apple argues that an opening or a hole is “an absence of material, into which something can be

placed.” Id. at 32.

       In consideration of the parties’ arguments and the evidence of record, the undersigned

agrees with Complainants that the ordinary meaning of “openings” and “through holes” in the

context of the Poeze patents does not preclude transparent material placed in the claimed

“openings” or “through holes.” An “opening” or “hole” can refer to an absence of material, but

this is not necessarily a requirement. For example, a skylight would still be an “opening” in a

roof after a glass window is installed, and a swimming hole is still a “hole” when it is filled with

water. The undersigned agrees with Complainants that the ordinary meaning of the terms

“opening” and “hole” can include openings and holes that include material.

       The claims and specification of the Poeze patents use the terms “openings” and “holes” in

a way that is consistent with this ordinary meaning by referring to “openings” and “through

holes” that may contain transparent material. See, e.g., ’502 patent claim 19 (“optically

transparent material within each of the openings”), claim 28 (“a plurality of transmissive

windows, each of the transmissive windows extending across a different one of the openings”);

’648 patent claim 8 (“a separate optically transparent window extending across each of the



                                                 31
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openings”), claim 20 (“each through hole including a window”). The specification explicitly

provides that “[t]he openings can be made from glass to allow attenuated light from a

measurement site, such as a finger, to pass through to one or more detectors.” JX-0001 at 8:26-

30; see also JX-0001 at 19:38-48 (describing “openings or windows,” which “allow light to pass

from the measurement site to the photodetectors”), 27:20-27 (“One or more components of

conductive glass 730b can be provided in the openings 703.”). Figure 7B depicts conductive

glass provided in the identified opening:




JX-0001 at Fig. 7B; see id. at 27:13-32. In view of these disclosures, the undersigned agrees

with the testimony of Dr. Madisetti that the claimed “openings” and “through holes” in the Poeze

patents can be made of glass or transparent material that allows light to pass through to the

detectors. See Tr. (Madisetti) at 702:8-703:10.




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        Apple argues that a “window” is something different from an “opening” or “hole,” RIB at

37-38, but none of the statements in the specification cited by Apple suggest that an “opening”

can no longer be referred to as an “opening” when filled with glass or covered by a window. To

the contrary, the specification describes conductive glass that “can be provided in the openings.”

JX-0001 at 27:20-22. The claims of the Poeze patents repeatedly describe “windows extending

across . . . the openings.” ’502 patent claim 28; see also ’648 patent claim 8 (same); ‘648 patent,

claim 20 (“each through hole including a window”). Claim 19 of the ’502 patent describes

“optically transparent material within each of the openings.” The intrinsic evidence supports

Complainants’ interpretation of these terms to include “openings” and “through holes” that

contain transparent material allowing for the transmission of light to the photodiodes.

        Accordingly, the undersigned finds that the claimed “openings” and “through holes” can

contain transparent material.

        E.      Infringement

        Complainants allege that the Accused Products infringe claim 12 of the ’501 patent,

claims 22 and 28 of the ’502 patent, and claims 12, 24, and 30 of the ’648 patent. CIB at 53-83.

There is no dispute with respect to the structure and operation of the Accused Products, and

Apple only disputes infringement with respect to the “over”/”above” and “openings”/”through

holes” limitations addressed above in the context of claim construction. RIB at 26-39; RRB at

20-34. Based on the evidence of record, and because Apple’s proposed claim constructions have

been rejected, the undersigned finds that these limitations are met, and that the Accused Products

thus infringe each of the asserted claims, as discussed below. 6


6
 Apple’s opening brief argues, in addition, that there is no indirect infringement of claim 28 of the ‘502
patent. See RIB at 39-40. Complainants do not provide any argument regarding indirect infringement.



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                                           Appx23168
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                1.       ’501 Patent Claim 12 7

                         a.      Element [1 preamble]: “A user-worn device configured to
                                 noninvasively measure a physiological parameter of a user, the
                                 user-worn device comprising:” 8

        There is no dispute that the Accused Products meet the limitations of the preamble of

claim 1, which requires “[a] user-worn device configured to non-invasively measure a

physiological parameter of a user.” See CIB at 59-60. Dr. Madisetti determined that the

Accused Products are watches configured to measure blood oxygen saturation, relying on

Apple’s marketing materials and technical documentation. Tr. (Madisetti) at 679:12-680:5; CX-

0281C (Block Dep. Tr.) at 71:21-72:5, 87:10-14, 177:10-178:7, 251:4-7; CX-1451 (Apple Watch

advertisement) at 1:49; CX-1406 (Apple Watch User Guide); CX-1726 (Apple Watch Series 7

Technical Specifications). The evidence of record shows that this limitation is met.

                         b.      Element [1A]: “at least three light emitting diodes (LEDs)”

        There is no dispute that each of the Accused Products contains a sensor module with at

least three LEDs. See CIB at 60-61. Dr. Madisetti identified four clusters of LEDs in each

Accused Product, with each cluster containing three LEDs of different wavelengths. Tr.

(Madisetti) at 680:6-22; CX-1548C (Apple Watch teardown photographs); CX-0281C (Block

Dep. Tr.) at 65:5-67:20; CX-0026C (Apple Engineering Requirement Specification) at 7-8, 30-




Apple does not explain why an indirect infringement finding is needed to find a violation as to claim 28
of the ‘502 patent, or as to any other asserted claim (which are all apparatus claims).
7
  Because claim 12 of the ‘501 patent depends from claim 1, the infringement, technical prong and
invalidity analyses address the limitations of both claims 1 and 12. See CIB at xxvi.
8
 The parties have stipulated that all preambles of all asserted claims are limiting. See Joint Stipulation of
Facts ¶ 9, EDIS Doc. ID 770692 (May 13, 2022).



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                                       38%/,&9(56,21

32; CX-0059C (Apple Watch Series 7 Engineering Drawings) at 1-3. The evidence of record

shows that this limitation is met.

                       c.      Element [1B]: “at least three photodiodes arranged on an
                               interior surface of the user-worn device and configured to
                               receive light attenuated by tissue of the user”

       There is no dispute that each of the Accused Products contains at least three photodiodes

on an interior surface that are configured receive light that has passed through the user’s tissue.

See CIB at 61-62. Dr. Madisetti identified four photodiodes arranged on Apple Watch sensor

boards that are configured to receive light emitted from the LEDs after it has passed through the

user’s tissue. Tr. (Madisetti) at 680:23-681:11; CX-0281C (Block Dep. Tr.) at 70:13-16, 86:2-

87:18; CX-0026C (Apple Engineering Requirement Specification) at 7-8, 30-32; CX-0059C

(Apple Watch Series 7 Engineering Drawings) at 1-3. The evidence of record shows that this

limitation is met.

                       d.      Element [1C]: “a protrusion arranged over the interior
                               surface, the protrusion comprising a convex surface”

       Complainants identify a domed surface in the Accused Products as the claimed protrusion

with a convex surface. CIB at 54-57. Dr. Madisetti identified this domed surface arranged over

the interior surface of the Accused Products where the photodiodes are located. Tr. (Madisetti)

at 681:12-682:11.




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